Case 2:21-cv-06995-MWF-PD Document 13 Filed 10/19/21 Page 1 of 1 Page ID #:74

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 21-6995 MWF (PDx)                                       Date: October 19, 2021
Title       Christine Lorenzetti v. Heidrick and Struggles, Inc., et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE
             DISMISSAL

       In light of the Joint Notice of Settlement-in-Principle [12] filed October 21,
2021, the Court sets a hearing on Order To Show Cause Re Dismissal for
DECEMBER 6, 2021, at 11:30 a.m. If a stipulated dismissal is filed prior to this
date, the matter will be taken off calendar and no appearance is needed. All other
hearings and deadlines are hereby vacated.

        IT IS SO ORDERED.
                                                                         Initials of Preparer: RS/sjm




CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
